                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA



 UNITED STATES OF AMERICA                          )
                                                   )
                                                   )           Case No. 1:06-CR-140-007
 v.                                                )
                                                   )           Chief Judge Curtis L. Collier
                                                   )
 MARCUS CARLISLE                                   )


                                             ORDER

        On May 1, 2007, United States Magistrate Judge William B. Mitchell Carter conducted a

 plea hearing in this case and filed a Report and Recommendation (“R&R”), which recommends (1)

 the Court accept the defendant’s guilty plea to Count One of the Indictment, to the extent it charges

 the lesser included offense of conspiracy to distribute marijuana in violation of 21 U.S.C. §§ 846,

 841(a)(1) & (b)(1)(D); (2) the Court adjudicate the defendant guilty of those charges to which he

 has pleaded; (3) the Court accept the defendant’s plea agreement at the time of sentencing; and (4)

 the defendant remain in custody pending sentencing (Court File No. 183).

        Neither party has filed objections to the R&R within the given ten days. Therefore, after

 reviewing the record, the Court ACCEPTS and ADOPTS the R&R (Court File No. 183) pursuant

 to 28 U.S.C. § 636(b)(1), and ORDERS as follows:

        (1) The defendant’s guilty plea as to the lesser included offense of Count One of the

 Indictment is ACCEPTED;

        (2) The defendant is hereby ADJUDGED guilty of the charges to which he has pleaded;

        (3) A decision to accept the plea agreement is DEFERRED until sentencing; and

        (4) The defendant SHALL REMAIN in custody until sentencing in this matter. Sentencing



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 is set for Thursday, August 9, 2007, at 2:00 p.m.



        SO ORDERED.

        ENTER:


                                            /s/
                                            CURTIS L. COLLIER
                                            CHIEF UNITED STATES DISTRICT JUDGE




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